       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 1 of 41



                                                                           FILED
                       IN TIlE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                  SEP   28   Z018
                                  DEL RIO DIVISION
                                                                       CLERK, U.S. DtSTRICT
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                                                                         STERNRICTOF TEXAS
GERARDO SERRANO,                                §                     BY
           Plaintiff,                           §
                                                §
v.                                              §        Cause No. DR-17-CV-00048-AM
                                                §
U.S. CUSTOMS AND BORDER                         §
PROTECTION; UNITED STATES OF                    §
AMERICA, KEVIN McALEENAN,                       §
Acting Commissioner of U.S. Customs and         §
Border Protection, Sued in His Official         §
Capacity; JUAN ESPINOZA, Fines,                 §
Penalties, and Forfeiture Paralegal             §
Specialist, Sued in His Individual Capacity;    §
JOHN DOE I-X, Unknown U.S. Customs              §
and Border Protection Agents, Sued in           §
their Individual Capacities,                    §
JUAN ESPINOZA,                                  §
                Defendants.                     §

                                               ORDER

       Pending before the Court is the Report and Recommendation of the Honorable Collis

White, United States Magistrate Judge. (ECF No. 64.) In his report, Judge White recommends

that this Court deny the Plaintiffs Motion to Certify Class (ECF No. 4); grant the Motion to

Dismiss filed by Defendants United States of America, U.S. Customs and Border Protection, and

Kevin McAleenan (ECF No. 49); and grant the Motion to Dismiss filed by Defendant Juan

Espinoza (ECF No. 50). The Plaintiff filed his objections to Judge White's report within the

fourteen days specified in Rule 72 of the Federal Rules of Civil Procedure. (ECF No. 65.) The

Court OVERRULES the Plaintiff's objections and ADOPTS Judge White's overall

recommendations for the reasoning described herein.
          Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 2 of 41



                                              I. BACKGROUND

          On September 21, 2015, the Plaintiff, a resident of Kentucky, drove his 2014 Ford F-250

truck to the United StatesMexico border through Eagle Pass, Texas, with the intent of driving to

Mexico. (ECF No.        1   at 4, 6.) After paying the toll to enter Mexico, but while still in the United

States, the Plaintiff began using his cellular telephone to film activity at the border, which

garnered the attention of the U.S. Customs and Border Protection (CBP) agents on duty. (Id.)

After a tense encounter, the agents handcuffed the Plaintiff and searched his vehicle, finding a

.380 caliber magazine and five bullets in it. (Id. at 7-8.) The agents detained the Plaintiff for

several hours, continuously pressuring him to reveal the passcode for his phone without success.

(Id. at   8i 0.)   They then released him, but seized his vehicle and its contents, including the

magazine and the bullets. (Id. at 10.)

          A few days later, the Plaintiff received notice of the seizure in the mail, informing him

that the truck, magazine, and bullets were seized and subject to civil forfeiture because there was

probable cause to believe that the Plaintiff had attempted to export munitions of war from the

United States.' (Id. at 11; ECF No. 55-2 at 2.2) The Plaintiff was informed that if he wished to

challenge the seizure, he could request to have the matter referred to a U.S. attorney for the

institution of judicial proceedings if he posted a bond equal to ten percent of the value of the

seized property. (ECF No.          1   at 11.) The notice also informed the Plaintiff of his rights to seek


        The parties acknowledge that it is proper for the Court to consider the notice in a motion to dismiss without
converting the motion to one for summary judgment because the notice was referred to in the Complaint and it is
central to the Plaintiff's claims. Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000) ("We
note, approvingly, however, that various other circuits have specifically allowed that '[d]ocuments that a defendant
attaches to a motion to dismiss are considered part of the pleadings if they are referred to in the plaintiff's complaint
and are central to her claim.") (quoting Venture Assocs. Corp. v. Zenith Data Sys. Corp, 987 F.2d 429, 431(7th Cir.
1993)).
     2
         The notice cites to 19 U.S.C. § 1595a(d) (merchandise attempted to be exported from the United States
contrary to law, and property used to facilitate the exporting, shall be seized and forfeited to the United States); 22
U.S.C. § 401 (providing for seizure and forfeiture of illegally exported war materials and vehicles used to attempt to
export such articles); 22 U.S.C. § 2778 (control of arms exports and imports); and 22 C.F.R. § 127.1 (violations for
illegal exports from the United States).

                                                           2
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 3 of 41



remission of the forfeiture, make an offer in compromise, or abandon the property. (ECF No.

55-2 at 3-4.)

       The Plaintiff timely demanded forfeiture proceedings and posted a ten-percent bond in

the amount of $3,804.99. (ECF No.       1   at 11.) After some time, forfeiture proceedings still had

not been instituted, so the Plaintiff contacted Defendant      Espinozaa      CBP paralegal and the

point person named in the   noticefour times,      asking about the status of his case. Id. Espinoza

informed the Plaintiff that his paperwork was in order, but it would take time to proceed with the

forfeiture action in court because the forfeiture attorneys were very busy.            (Id. at 11-12.)

Espinoza also allegedly told the Plaintiff that his case had not yet been referred to a U.S. attorney

and would not be until an attorney had time to review it. Id. at 12.

       After twenty-three months of waiting, without (1) the return of his property; (2) a post-

seizure hearing, or (3) the institution of a forfeiture action, the Plaintiff filed the present cause of

action against the United States, seeking return of his property pursuant to Rule 41(g) of the

Federal Rules of Criminal Procedure based on violations of the Fourth and Fifth Amendments.

The Plaintiff argues that return of his property is proper because he was not provided with a post-

seizure hearing and because the United States waited too long to institute forfeiture proceedings.

(Id. at 20-21.)   The Plaintiff also argues that his bond money must be returned because the

requirement to post a bond as a condition of obtaining a hearing violates due process. (Id.)

        The Plaintiff also brings two class action claims pursuant to Rule 23 of the Federal Rules

of Civil Procedure, seeking class-wide injunctive and declaratory relief under the Fifth

Amendment against Defendants United States of America, U.S. Customs and Border Protection,

and Acting Commissioner McAleenan, in his official capacity (Class Defendants). (Id. at 23.)

According to the Plaintiff, after seizing vehicles, the Class Defendants fail to provide a
         Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 4 of 41



constitutionally required prompt post-seizure hearing at which a property owner can challenge

the legality of the seizure and the continued retention of the property pending the forfeiture

proceeding, in contravention of Krimstock      v.   Kelly, 306 F.3d 40 (2nd Cir. 2002). (Id.) The

Plaintiff also alleges that the Class Defendants violate due process when they condition the right

to a forfeiture hearing on the posting of a bond. (Id.) Simultaneously with his Complaint, the

Plaintiff also filed his Motion to Certify the Class. (ECF No. 4.)

         Finally, the Plaintiff seeks damages from Defendant Espinoza and other unknown and

unserved agents acting in their individual capacities, pursuant to Bivens     v.   Six Unknown Named

Agents, 403 U.S. 388 (1971), for violations of his Fourth and Fifth Amendment rights. (ECF No.

1   at 2 1-23.) The Plaintiff argues that Espinoza deprived him of his constitutional right to a post-

seizure hearing, and other unknown agents violated his rights by maintaining custody of his

property even though no hearing was provided. (Id.) According to the Plaintiff, while his truck

was seized, he had to rent a vehicle on multiple occasions, pay insurance on the truck, and pay

title fees, all while his vehicle sat unused, continuing to depreciate in value.

         The Plaintiff's truck was returned to him shortly after he filed this lawsuit; however, at

the time, the bond money, magazine, or bullets still had not been returned. (ECF No. 49-1.) The

Class Defendants then filed a motion to dismiss, in which they argue that the return of the

Plaintiff's truck moots any cause of action under Rule 4 1(g). (ECF No. 49 at 4-5.) The Class

Defendants also argued that due process does not require a post-seizure hearing. (Id. at 6.) In

response the motion for class certification, the Class Defendants argue that certification is

improper because the matter is now moot following the return of the Plaintiffs vehicle. (ECF

No. 51.)




                                                    4
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 5 of 41




        Defendant Espinoza also filed a motion to dismiss based on two grounds. (ECF No. 50.)

First, Defendant Espinoza argues that the Supreme Court has never recognized a Bivens cause of

action in the asset forfeiture context, and it would be improper to extend Bivens to the facts

alleged here.   Second, Defendant Espinoza argues that he is entitled to qualified immunity

because he did not violate any clearly established constitutional right.

        Subsequently, the Plaintiff's bond money, magazine, and bullets were returned. (ECF

Nos. 62-63.) Thus, Plaintiff now acknowledges that his Rule 41(g) motion is moot. (ECF No.

63 at 1.) Nevertheless, the Plaintiff maintains that his class action claims and his Bivens actions

are not moot. (Id. at 2.)

                                  II. STANDARD OF REVIEW

        When a party files an objection to any portion of a magistrate judge's report and

recommendation, the district court must undertake a denovo review of the conclusions to which

the party properly objects. Fed. R. Civ. P. 72(b)(3) ("The district judge must determine de novo

any part of the magistrate judge's disposition that has been properly objected to."); 28 U.S.C.

§   636(b)(l) ("A judge of the court shall make a de novo determination of those portions of the

report or specified findings or recommendations to which objection is made."). In conducting a

de novo review, a district court must conduct its own analysis of the applicable facts and legal

standards and is not required to give any deference to the magistrate judge's findings.         See

United States v. Raddatz, 447 U.S. 667, 690 (1980) ("The phrase 'de novo determination' has an

accepted meaning in the law.      It means an independent determination     of a controversy that

accords no deference to any prior resolution of the same controversy."); Shiimi        v.   Asherton

Indep. Sch. Dist., No. 92-5562, 1993 WL 4732, at *2 n.18 (5th Cir. Jan. 8, 1993) (stating that a

de novo review "means that the district court independently reviews the matters in the record")



                                                 5
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 6 of 41



On the other hand, the Fifth Circuit has recognized the requirement that parties filing objections

must specifically identify those findings objected to, and district courts need not conduct a de

novo review when the objections are frivolous, conclusive, or general in nature. Battle      v.   United

States Parole Commission, 834 F.2d 419, 421 (5th Cir. 1987).

       When no party files objections to a part of a magistrate judge's report and

recommendation, the district court need only review that portion of the report to determine

whether it is erroneous or clearly contrary to law. Douglas      v.   United Servs. Automobile Ass 'n,

79 F.3d 1415, 1429 (5th Cir. 1996); United States       v.   Wilson, 864 F.2d 1219, 1221 (5th Cir.

1989). Because the Plaintiff has timely filed objections in this case, the Court will review those

portions of the report to which the Plaintiff objects de novo.

       Here, the Plaintiff has asserted numerous objections, thus triggering a de novo review of

those factual findings and legal conclusions contained within the report.

                                        III. DISCUSSION

       The Plaintiff objects to the report's factual findings and legal conclusions with respect to

the following: (1) Judge White's analysis, but not his overall conclusion, in finding that the

Plaintiff's class claims fall under the "inherently transitory" exception to class action mootness;

(2) Judge White's recommendation that the Plaintiff has failed to state a claim with respect to the

class defendants; (3) Judge White's recommendation that the Plaintiffs Motion for Class

Certification should be dismissed; and (4) Judge White's recommendation that the Individual

Defendants' Motion to Dismiss should be granted. The Plaintiff's objections are overruled.

   A. Class Action Claims under the Fifth Amendment

       Judge White first addressed the Plaintiff's class action claims brought on behalf of

himself and others similarly situated. Judge White summarized the Plaintiff's class claims as
          Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 7 of 41



follows: (1) the Class Defendants' failure to provide a prompt post-seizure, pre-forfeiture hearing

after every vehicle seizure violates the Due Process Clause of the Fifth Amendment; and (2) that

the requirement of a bond in order to initiate forfeiture proceedings similarly violates due

process. (ECF No. 64 at 6.)

          The Plaintiff seeks to proceed on behalf of a class of all U.S. citizens, likely hundreds a

year, "whose vehicles are or will be seized by CBP for civil forfeiture and held without a post-

seizure hearing." (ECF No.        1   at 23.)   The Plaintiff seeks declaratory and injunctive relief,

including (1) a declaration that the Class Defendants' "policy or practice of failing to provide

prompt post-seizure hearings to U.S. citizens whose vehicles have been seized for civil

forfeiture" is unconstitutional under the Due Process Clause of the Fifth Amendment, and (2) an

injunction prohibiting Class Defendants "from continuing to seize vehicles from U.S. citizens for

civil forfeiture without providing a prompt post-seizure hearing." (Id. at 25.)

          The Class Defendants, in turn, have filed (1) a motion to dismiss these claims (ECF No.

49), and (2) a response in opposition to the motion to certify (ECF No. 51), arguing that the

claims are moot because the Plaintiff's property has been returned, and, in any event, due process

does not require a post-seizure hearing.

          Judge White found that the Plaintiffs class-wide claim falls within the "inherently

transitory" exception to class mootness despite the fact that all of his property has now been

returned to him; however, Judge White nonetheless recommended that the Plaintiffs class-wide

claim should be dismissed because it fails on the merits. (ECF No. 64 at 8-9, 14-23.)

     1.   Inherently Transitory Exception to Mootness

          In a footnote, the Plaintiff "agrees with [Judge White's] bottom-line conclusion that the

class claims are not moot," but "does object to a portion of the Report's reasoning in reaching



                                                     7
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 8 of 41




that conclusion." (ECF No. 65 at        3 n. 1.)   Specifically, the Plaintiff argues, the class-wide claims

fell within the "inherently transitory" exception to class mootness both because (1) the claims

naturally become moot whenever the seizure ends or a hearing is provided, and (2) the

Government has the ability to "pick off" named plaintiffs by voluntarily returning their property.

The Plaintiff argues that both the exceptions apply and objects that Judge White's report

"endorses the second of these two rationales, but.            . .   could be read to reject the first." (Id.)

       In Genesis Healthcare Corp.         v.   Symczyk, 569 U.S. 66, 75-77 (2013), the Supreme Court

discussed the inherently transitory exception to mootness in class actions, which in turn has its

roots in Sosna    v.    Iowa, 419 U.S. 393 (1975). In Sosna, the Court held that a class action is not

rendered moot when the named plaintiff's individual claim becomes moot after the class has

been duly certified.        419 U.S. at 399. However, Sosna also suggested that, where a named

plaintiff's individual claim becomes moot before the district court has an opportunity to rule on

the certification motion and the issue would otherwise evade review, the certification might

"relate back" to the filing of the complaint. Id. at 402 n. 11. The Supreme Court "has since held

that the relation-back doctrine may apply in Rule 23 cases where it is 'certain that other persons

similarly situated' will continue to be subject to the challenged conduct and the claims raised are

'so inherently transitory that the trial court will not have even enough time to rule on a motion

for class certification before the proposed representative's individual interest expires." Genesis

Healthcare, 569 U.S. at 76 (quoting County ofRiverside                   v.   McLaughlin, 500 U.S. 44, 52 (1991)

(in turn quoting United States Parole Comm 'n            v.    Geraghty, 445 U.S. 388, 399 (1980) (in turn

citing Gerstein    v.   Pugh, 420 U.S. 103, 110 n.1 1 (1975))). The "inherently transitory" rational

was developed to address circumstances in which the challenged conduct "was effectively

unreviewable, because no plaintiff possessed a personal stake in the suit long enough for
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 9 of 41



litigation to run its course." Genesis Healthcare, 569 U.S. at 76. Where the transitory nature of

the conduct giving rise to the suit would effectively insulate defendants' conduct from review,

class certification could potentially "relate back" to the filing of the complaint. Id. To be sure,

"this doctrine has invariably focused on the fleeting nature of the challenged conduct giving rise

to the claim, not on the defendant's litigation strategy." Id. (internal citations omitted). Thus,

for example, a plaintiff seeking to bring a class action challenging the constitutionality of

temporary pretrial detentions "would face a considerable challenge of preserving his individual

claim from mootness, since pretrial custody likely would end prior to the resolution of his

claim." Id. (internal citations omitted).

       In his report, Judge White explains that a previously decided Fifth Circuit decision,

Zeidman   v.   McDermott & Co., 651 F.2d 1030, 1050-51 (5th Cir. Unit A 1981), extended the

Sosna-created concept of relation back under the inherently transitory doctrine to cases that

would otherwise be rendered moot by the defendants' ability to "pick off' claims to prevent any

plaintiff in the class from procuring a decision on class certification. Id. at 1050. Since then, the

Fifth Circuit has recognized that "[t]he current status of Zeidman may be in doubt" in light of

Genesis Healthcare. See Fontenot      v.    McCraw, 777 F.3d 741, 750-51(5th Cir. 2015) (noting

that the Supreme Court's rationale in Genesis Healthcare undermined "Zeidman's analogy

between the 'inherently transitory' exception to mootness and the strategic 'picking          off of
named plaintiffs claims."). However, in that case the Fifth Circuit ultimately declined to decide

whether Zeidman has in fact been overruled. Id. Thus, Judge White found that Zeidman remains

technically binding precedent. (ECF No. 64 at 10 n.7.)

       Judge White therefore concludes that, while Plaintiffs class action claim does not present

a classic inherently transitory exception to class action mootness, the present scenario "falls
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 10 of 41



squarely under Zeidman."3 (ECF No. 64 at 9.) The Plaintiff's footnote objects to Judge White's

finding that this is not a classic inherently transitory exception and, in support, refers this Court

to the decisions in Krimstock, 306 F.3d at 70 n.34, and Cty. of Riverside v. McLaughlin, 500 U.s.

44, 52 (1991).       However, both of those cases were decided prior to the Supreme Court's

clarification of the inherently transitory exception doctrine in Genesis Healthcare and are

otherwise distinguishable.

         For example, in Krimstock, the Second Circuit noted that three of the seven named

plaintiffs had recovered their property by the time of oral arguments.                      306 F.3d at 70 n.34.

Accordingly, along with its decision to remand the case, the Second Circuit instructed the district

court to consider whether exceptions to the mootness doctrine preserved the merits of the case

for judicial resolution of the unnamed class members' claims. Id. at 70. The Krimstock footnote

that the Plaintiff cites simply refers the district court to the inherently transitory doctrine and the

possibility that "in some cases" the Supreme Court has held that the termination of a class

representative's claim does not moot the claims of the unnamed members of the class. Id. at 70

n.34. The Second Circuit did not decide whether the inherently transitory doctrine actually

applied under the circumstances in that case.

         McLaughlin is also readily distinguishable.                  McLaughlin involved a class action

challenge to the manner in which the County of Riverside, California provided probable cause

determinations to persons arrested without a warrant. McLaughlin, 500 U.S. at 47. Citing the

inherently transitory exception, the Supreme Court held that the class claims were not mooted by


      The Plaintiffs footnote objects to Judge White's alleged suggestion that the rationale in Alvarez v. Smith, 558
U.s. 87, 92-93 (2009) forecloses the applicability of the classic inherently transitory doctrine to the instant case
because the plaintiffs in that case had abandoned their class actions claims following the district court's denial of
certification. See also (ECF No. 64 at 9 ("This is not a classic inherently transitory situation under Alvarez.").) The
Court agrees to the extent that Alvarez involved analysis of the mootness of the named-plaintiffs' individual claims,
not their previously abandoned class-wide claims. However, read in context, Judge White appears to be referring to
the classic inherently transitory line of cases as outlined in Genesis Healthcare.

                                                          10
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 11 of 41



the holding of probable cause determination hearings or the release of the class members. Id. at

51-52. Thus, the factual circumstances in McLaughlin appear to at least reasonably resemble the

hypothetical scenario that the Supreme Court would later use to clarify the classic inherently

transitory exception in Genesis Healthcare.

       Here, the Plaintiff has not persuaded this Court that Judge White erred in his conclusion

that the present scenario does not fall under the classic inherently transitory doctrine based on

Krimstock or McLaughlin, particularly in light of the Supreme Court's analysis in Genesis

Healthcare. For the classic inherently transitory exception to apply, the challenged conduct must

be effectively unreviewable due its fleeting nature. The Plaintiff has failed to show that the

Supreme Court's hypothetical constitutional challenge to temporary pretrial detentions in

Genesis Healthcare, where it is likely that such detention will end prior to the resolution of any

plaintiff's claim, is analogous to the claims here involving the civil forfeiture of property,

especially in light of the applicable five-year statute of limitations under the customs laws in this

instance. See 19 U.S.C.   §   1621.

       The Plaintiff therefore has not persuaded this Court that the proposed class claims are

incapable of review due to their alleged fleeting nature as described in Genesis Healthcare.

Accordingly, this Court overrules Plaintiff's objection to Judge White's analysis that this case

does not present a classic inherent transitory exception to mootness.       As outlined above, the

Plaintiff does not, however, object to Judge White's conclusion that the Plaintiff's class claim

nevertheless falls under Zeidman. Because no party has objected to that finding, this Court

reviews it for clear error. As Judge White explained, the Fifth Circuit correctly called Zeidman

into question in light of Genesis Healthcare, but Zeidman nevertheless remains binding

precedent until it is expressly overruled.      Thus, having reviewed Judge White's analysis,



                                                 11
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 12 of 41



especially in light of the Plaintiff s agreement with Judge White's conclusion, this Court

overrules the Plaintiffs objections and adopts Judge White's finding that the Plaintiff's class

claims fall within the inherently transitory exception under Zeidman.

       2.    Class Defendants' Motion to Dismiss Pursuant to Rule 12(b)(6)

            The Plaintiff next objects to Judge White's analysis that his class allegations fail to state a

claim and recommendation that the Class Defendants' Motion to Dismiss should be granted

pursuant to Rule 12(b)(6). (ECF No. 65 at             3i 1.)   The Plaintiff argues that Judge White's

conclusion is based on the following three intercoimected errors: (1) Judge White's analysis

disregards a series of cases holding that the Government must provide a prompt-post seizure

hearing when it seizes vehicles for civil forfeiture; (2) Judge White places undue weight on the

Supreme Court's decision in United States v. Von Neumann, 474 U.S. 242 (1986); and (3) Judge

White errs in his due process analysis under Mathews             v.   Eldridge, 424 U.S. 319 (1976) by

underestimating the significance of the private interest at stake and the risk of erroneous

deprivation, while overstating the cost of providing a hearing.

        a. The Plaintiff's Cited Cases do not Establish that CBP 's Failure to Provide a Prompt
        Post-Seizure Hearing Violates Due Process

            The Plaintiff argues that Judge White's analysis errs by disregarding "numerous" federal

cases holding that due process requires a prompt post-seizure hearing when the government

seizes vehicles for civil forfeiture. (ECF No. 65 at 4-5 (citing Krimstock, 306 F.3d at 44; Smith

v.   City of Chicago, 524 F.3d 834, 838, vacated as moot, 558 U.S. 87 (2009); Washington                v.


Marion Cty. Prosecutor, 264 F. Supp. 3d 957, 978-79 (S.D. md. 2017); and Brown v. District of

Columbia, 115 F. Supp. 3d 56, 60 (D.D.C. 2015).) The Plaintiffs objection is overruled.

            Courts use the three-factor balancing test set out by the Supreme Court in Mathews, 424

U.S. 319, to determine what procedures are required when the government seeks to take or retain


                                                      12
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 13 of 41



a private interest. The Mathews test weighs (1) the nature and weight of the "private interest that

will be affected by the official action"; (2) "the risk of an erroneous deprivation of such interest

through the procedures used, and the probable value, if any, of additional or substitute procedural

safeguards;" and (3) "the Government's interest, including the function involved and the fiscal

and administrative burdens that the additional or substitute procedure would entail." Id. at 335.

       Following his review of existing precedent, Judge White found that "there is some

support to the idea that a prompt post-seizure hearing is required when state, municipal, or

district statutes allow for seizures for violations of law, especially where seized property is not

subject to replevin." (ECF No. 64 at 18.) However, on balance, Judge White concluded that the

Plaintiff has not pointed to any case in support of the argument that a hearing is required after a

seizure under federal law and, following a weighing of the Mathews factors, that no prompt post-

seizure hearing is required under these circumstances. (Id. at 18-21.) The Plaintiff objects to

Judge White's distinction between the state, municipal, or district statutes in the cases the

Plaintiff cites and the federal laws at issue here. The Plaintiff further notes that the Second

Circuit's analysis in Krimstockthe decision on which his argument heavily           reliesin   turn

relies on the Supreme court's decision in United States    v.   James Daniel Good Real Property,

510 U.S. 43, 62 (1993), finding that the federal government must provide a hearing before it

seizes real property. Having reviewed the applicable case law, this Court agrees with Judge

White's conclusion that the Plaintiff's citations do not sufficiently establish that a prompt post-

seizure hearing is required under these circumstances when considered alongside existing

precedent.

       In Krimstock, the Second Circuit applied the Mathews test in a constitutional challenge to

a New York law permitting police to seize vehicles following drunk driving arrests. 306 F.3d at



                                                13
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 14 of 41



46. Then-Judge Sotomayor wrote that the Mathews factors weighed in favor of the requirement

of an early opportunity to challenge the seizure and retention of their vehicles. The Krimstock

court placed great weight in the first factor, the owner's interest in the property, because an

"individual has an important interest in the possession of his [or her] motor vehicle" given the

"particular importance" that cars have "as a mode of transportation and, for some, the means to

earn a livelihood." Id. at 61. (citing Lee   v.   Thornton,   538 F.2d 27,   31(2nd Cir. 1976)). The
court then found that the second factor, the risk of erroneous deprivation, favored the city

because "a trained police officer's assessment of the owner-driver's state of intoxication can

typically be expected to be accurate." Id. at 62-63.

        With respect to the third factor, the court found that a weighing of the government's

interests favored the car owners because "the need to prevent forfeitable property from being

sold or destroyed during the pendency of proceedings [did] not necessarily justify continued

retention of all vehicles when other means of accomplishing those goals are available." Id. at 65.

The court suggested that the availability of alternative measures, such as a bond, is "in some

respects a superior form of security" to satisfy the government's interest. Id.          Moreover, the

court discounted the government's interest in maintaining possession of the       res   for the purposes

of establishing in rem jurisdiction in forfeiture proceedings because the government need only

maintain possession until the initiation of such proceedings. Id. The court also discounted the

government's interest in preventing the offending       resthe seized vehiclesfrom being used as
instrumentalities in future acts of driving while intoxicated. Id. at 66. In doing so, the court

reasoned that (1) the "offending res" is only an allegedly offending res inasmuch as the alleged

misconduct has yet to be established in a criminal or civil proceeding; (2) while the initial seizure

serves the constructive purpose of keeping an individual from driving in an inebriated condition,



                                                   14
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 15 of 41



that purpose loses its basis in urgency once the individual has regained sobriety; and (3)

impoundment leaves the alleged offender free to drive while intoxicated in any other vehicle

when the opportunity presents itself, while depriving some potentially innocent owners of the

often indispensable benefits of daily access to their vehicles; and finally (4) the possibility,

unique to the factual circumstances of the case, that New York only seized vehicles that might

yield an attractive price at auction. Id. at 66-67.

       Following a review of the existing precedent, this Court agrees with Judge White's

conclusion that the Plaintiff has not demonstrated that Krimstock and its progeny dictate the

outcome of this Court's own balancing of the Mathews factors under the factual circumstances

presented in this case. With respect to the first Mathews factor, Judge White agreed with

Krimstock and Brown in finding that the seizure of a vehicle "unquestionably" implicates an

important private interest in being able to travel and go to work. (ECF No. 64 at 20.) However,

this Court's review indicates that other courts have readily arrived at different conclusions with

respect to the Krimstock court's balancing of the second and third Mathews factors.

       For example, in United States v. One 1971 BMJ'V 4-Door Sedan, the Ninth Circuit found

that the applicable forfeiture procedures under the federal customs laws "far better protected"

vehicle owners' rights against the risk of erroneous seizure while distinguishing a prior decision

involving a California state law because, under the customs laws, the U.S. Attorney had a duty to

investigate and make a determination, independent of the seizing agency, as to whether forfeiture

was warranted, and, in an event, the judicial hearing to which the individuals were entitled

served to assure the propriety of the forfeiture. 652 F.2d 817, 820-21 (9th Cir. 1981). The court

added, "{t]he pervasive statutory scheme of which these sections are a part evidences substantial

concern on the part of Congress with respect to what process is due owners of vehicles seized



                                                  15
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 16 of 41




under the narcotics laws. Great weight must be given to its judgment."                           Id. at 820 (citing

Mathews, 424 U.S. at 349). Those procedures prescribed by Congress not only afforded the

plaintiff the right to petition for remission of the forfeiture, but further assured him the right to

judicial review of the forfeiture. Id. The Plaintiff here attempts to distinguish One 1971 BMW

by arguing that the customs laws have since been amended to require additional administrative

procedures for property valued at less than $500,000, which includes his vehicle. (ECF No. 65 at

6 n.2 (citing § 19 U.S.C. §       1607, 1610).) However, as well-documented throughout the briefing

in this case, under the current customs laws applicable to the Plaintiff's property, he similarly

had the option to petition for remission of the forfeiture, have his case submitted to the U.S.

Attorney for an independent evaluation, and ultimately judicial review to determine whether the

forfeiture was   just.4   See One 1971 BMW, 652 F.2d at 820 (distinguishing Lee                   v.   Thornton, 538

F.2d 27 (2nd Cir. 1976));         cf   Krimstock, 306 F.3d at 62 (finding factor weighed in favor of

government, but also stating "[n]either the arresting officer's unreviewed probable cause

determination nor a court's ruling in the distant future on the merits of the City's forfeiture claim

can fuiiy protect against an erroneous deprivation               .   .   .   .   "); Brown, 115 F. Supp. 3d at 67

("validity of traffic stops 'rests solely on the arresting officer's unreviewed probable cause

determination"). Put another way, Judge White was correct in distinguishing the Plaintiff's cited

cases because the federal scheme here afforded the Plaintiff multiple alternative remedial

processes that were not present in the state schemes, which lowers the risk of erroneous

deprivation in this instance.




       The Court also notes that the Plaintiff's class claims argue that due process requires the creation of a prompt
post-seizure hearing, not that the alleged administrative delays in referring his case to the United States Attorney in
this instance or the disposition of his judicial proceedings violate due process, which would be governed by the
speedy trial balancing test outlined in Barker v. Wingo, 407 U.S. 514 (1972).

                                                          16
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 17 of 41



       The Second Circuit's findings in Krimstock with respect to the weight accorded to the

third factor, the government's interests, also depart from other courts' analyses. For example,

while Krimstock discounted the government's interest and effectiveness in preventing future acts

of driving while intoxicated, the court in One 1971 BMW found that "[t]he interest in the

appellant in the uninterrupted use of his vehicle is not so compelling as to outweigh the

substantial interest of the government in controlling the narcotics trade without being hampered

by costly and substantially redundant administrative burdens." 652 F.2d at 821. Likewise, the

Supreme Court held in City of Los Angeles       v.   David, 538 U.S. 715, 718   (2003)a case decided
after Krimstock that reversed a circuit court's ruling that an additional post-seizure hearing was

requiredthat the government's interest weighs "strongly"          in the city's favor in recognition of

the sheer burden that requiring prompt post-seizure hearings would place on governments. See

also United States    v.   $8,850 in US. Currency, 461 U.S. 555 (1983) (noting that U.S. Customs

processes over 50,000 noncontraband forfeitures per year);         cf   Brown, 115 F. Supp 3d at 67

(finding third factor weighs in vehicle owners' favor where "the government has not offered any

evidence regarding the potential administrative burden of providing prompt hearings with respect

to automobiles.   . . .   "). Just as the Supreme Court recognized in David, Judge White did not err

in acknowledging the sheer administrative burden that would fall on the government if it was

required to provide prompt post-seizure hearings following every seizure.

       For the reasons stated above, Judge White also correctly found that a review of existing

precedent does not bind this Court, without further examination of the circumstances presented

in this case, to adopt the Second Circuit's analysis of the Mathews factors in Krimstock and its

progeny to find that due process requires a prompt post-seizure hearing. This Court agrees with

the Plaintiff to the extent that, whether the forfeiture procedures in question arise from either



                                                     17
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 18 of 41



federal law, state law, municipalities, or district statutes, is not outcome determinative absent

further inquiry into the particular circumstances of a particular case. However, Judge White

correctly noted the distinction in the particular circumstances in cases arising under federal laws,

including the availability of alternate remedial processes and the lack thereof in the cases that the

Plaintiff relies on, which should be considered and weighed accordingly in this Court's balancing

of the Mathews factors.

       The Plaintifrs argument that Judge White's cited cases are themselves distinguishable is

also misplaced. See (ECF No. 65 at 6.) One 197] BMW held that the appellant was not entitled

to an additional hearing for probable cause within 72 hours of a seizure, not that one is required

as the Plaintiff suggests.    See 652 F.2d at 820 (distinguishing Lee, which involved vehicles

seized at remote border points that were subject to summary forfeiture and were not subject to

independent review by the U.S. Attorney and final judicial determination of forfeiture).

Moreover, the Plaintifr s argument that cases involving seizure of property other than vehicles

"are beside the point" is unpersuasive, particularly in light of the Krimstock court's heavy

reliance on James Daniel Good, which itself involved analysis of due process requirements prior

to the seizure of real property. This Court readily agrees that existing precedent reflects that the

seizure of a vehicle implicates significant private interests, which a court must take into account

in its analysis and which the Krimstock court placed great weight in, but the significance of an

owner's interest in a vehicle is not in itself determinative and must be balanced in light of the

remaining factors under Mathews.

       Accordingly, the Plaintiff's objection that Judge White errs in disregarding the Plaintiff's

cited cases is overruled.

       b. Von Neumann       Does Not Govern Whether Due Process Requires a Prompt Post-Seizure
       Hearing

                                                 18
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 19 of 41




       The Plaintiff objects to Judge White's finding that United States     v. Von   Neumann, 474

U.S. 242 (1986) controls the question of whether due process requires a prompt post-seizure

hearing. This Court agrees to the extent that Von Neumann addressed a separate question of

whether an individual's interest in a car seized for a customs violation or in the money put up to

secure a bond entitles him to a speedy answer to his administrative remission petition, not

disposition of judicial forfeiture proceedings.    The Supreme Court, while noting that "most

forfeitures are disposed of through the administrative remission procedures," found that

remission proceedings "supply both the Government and the claimant a way to resolve a dispute

informally rather than in judicial forfeiture proceedings."    Id. at 250.   However, "remission

proceedings are not necessary to a forfeiture determination, and therefore are not constitutionally

required." Id. Thus, "there is no constitutional basis for a claim that respondent's interest in the

car, or in the money put up to secure the bond, entitles him to a speedy answer to his remission

petition." Id. The Supreme Court also addressed $8,850, which in turn applied the speedy trial

test outlined in Barker v. Wingo, 407 U.S. 514 (1972) in finding that an eighteen-month delay in

filing a customs forfeiture action did not violate constitutional due process guarantees. On the

other hand, the Supreme Court's underlying rationale may have some value here where it

reasoned that "[i]mplicit in this Court's discussion of timeliness in $8,850 was the view that the

forfeiture proceeding, without more, provides the postseizure hearing required by due process to

protect [the claimant's] property interest in the car." Von Neumann, 474 U.S. at 249. Thus, "[a

claimant's] right to a forfeiture proceeding meeting the Barker test satisfies any due process right

with respect to the car." Id. at 251.

       Here, the Plaintiff strenuously argues that his class claims do not challenge a delay in

initiating forfeiture proceedings, which would require analysis of the Barker test as applied in


                                                  19
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 20 of 41




Von Neumann. Instead, the         Plaintiff argues that he has a right to a prompt post-seizure hearing,

which mandates analysis of what procedures are required under the Mathews test. Stated another

way, "[the Plaintiff's] claim does not concern the speed with which civil forfeiture proceedings

themselves are instituted or conducted. Instead, plaintiffs seek a prompt post-seizure opportunity

to challenge the legitimacy of the city's retention of the vehicles while those proceedings are

conducted." See Krimstock, 306 F.3d at 68 (discussing same distinction). This Court agrees

with the Plaintiff's objection, to the extent that his class claims challenge the procedures due and

not an alleged delay in the final judicial process, the proper inquiry requires application of the

Mathews factors.5

         To be sure, Judge White ultimately concluded that "[e]ven assuming Von Neumann does

not provide a clear answer.        . .   a weighing of the Mathews factors firmly supports a finding that

no hearing is required to satisfy due process." (ECF No. 64 at 20 (analyzing the applicability of

each Mathews factor in turn).) Because Judge White correctly weighed the Mathews factors and

found that due process does not require a prompt post-seizure hearing, if this Court agrees with

that finding, the Plaintiff's objection is rendered moot.

        c. The Plaintiff has not Demonstrated that a Prompt Post-Seizure Hearing is Required
        under the Mathews Factors

         The Plaintiff also objects to Judge White's findings with respect to the Mathews factors.

Regarding the first factor, Judge White found that "[u]nquestionably the seizure of a vehicle

implicates an important private interest in being able to travel and to go to work." (ECF No. 64

at 20.) The Plaintiff objects that Judge White "gives short shrift to the vital importance of the

        Again, the Supreme Court's rationale with respect to the private interest in a vehicle in $8,850 and Von
Neumann may still add some value in balancing the Mathews factors. More specifically, Krimstock gave great
weight to an owner's private interest in a vehicle in its Mathews analysis while heavily analogizing vehicle seizures
to the Supreme Court's analysis of an individual's right to pre-seizure notice of real property in James Daniel Good.
$8,850 and Von Neumann appear to at least contemplate on a broader level that an individual's private interest in a
vehicle may not be as compelling as Krimstock suggests, at least in circumstances where the applicable forfeiture
procedures provide for ultimate judicial determination.

                                                         20
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 21 of 41



interest." Upon review of the applicable law, this Court agrees with Judge White's finding that

the seizure of a vehicle implicates an important private interest, and that this factor weighs in

favor of the Plaintiff. Accordingly, the Plaintiff's objection is overruled.

        The Plaintiff next objects to Judge White's finding that the risk of erroneous deprivation

is minimal. As stated in Krimstock, the risk of erroneous seizure and retention of a vehicle is

reduced because a trained officer's assessment of illegality can typically be expected to be

accurate.     306 F.3d at 62-63 (finding that this factor weighed against the requirement of a

prompt post-seizure hearing).       Here, CBP agents are well-trained in identifying customs

violations and this Court notes that, in the light most favorable to the Plaintiff, there is no dispute

related to the CBP agents' assessment here that the Plaintiff's vehicle contained the magazine

and bullets when he was attempting to enter Mexico.           See David, 538 U.S. at 718 (finding

minimal risk of erroneous deprivation where straightforward nature of allegations makes errors

unlikely).    Moreover, this Court agrees that the risk of erroneous deprivation was further

minimized "by the duty of the United States Attorney immediately after notification of the

seizure to investigate the facts and laws and independently to determine whether initiation of

forfeiture proceedings [is] warranted." One 1971 BMW, 652 F2d at 821. The Plaintiff responds

that his Complaint alleges that CBP does not forward cases to the U.S. Attorney in a timely

fashion.     However, as Plaintiff has strenuously argued, his class claims involve the issue of

whether an additional prompt-post seizure hearing is required by due process, not that the delay

in the carrying out the existing procedures violates due process. As discussed above, arguments

regarding delay in the existing procedures would require analysis of the Barker factors as applied




                                                  21
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 22 of 41



in $8,850 and Von Neumann.6                 Here, Congress has provided several alternative remedial

processes under the applicable portions of the customs scheme by which the Plaintiff may correct

the erroneous deprivation of his vehicle, including the opportunity to file a petition for remission;

the U.S. Attorney's independent review; the availability of a Rule 4 1(g) motion, or if no criminal

action is pending, invoking this Court's general equity jurisdiction; and ultimate judicial

determination of the forfeiture. Id. at 820; see also Smith, 524 F.3 d at 837 (distinguishing Von

Neumann by noting that the risk of erroneous deprivation is lessened in forfeiture proceedings

under the customs laws because of the availability of relief under Rule 41). Just as in One 1971

BMW, the availability        of such alternative remedial processes under the federal scheme here

strongly suggests that Congress has already determined what process is due.                               This Court

accordingly finds that the risk of erroneous deprivation is minimal. The Plaintiff's objection is

overruled.

         Finally, the Plaintiff objects to Judge White's findings with respect to the weight given to

the third Mathews factor, the Government's interest. As other courts have held, this Court

cannot ignore the fact that the seizure at issue occurred pursuant to laws designed to curb illegal

activityin this instance, the exportation of munitions of war.                 See One 1971 BMW, 652 F2d at

821. Seizure and forfeiture       of vehicles for violations of laws foster the public interest.            Id. (citing

Calero-Toledo     v.   Pearson Yacht Leasing Co., 416 U.S. 663, 679 (1974)). Moreover, the interest

of the Plaintiff "in the uninterrupted use of his vehicle is not so compelling as to outweigh the

substantial interest of the government in controlling [the illegal exportation of munitions]

without being hampered by costly and substantially redundant administrative burdens."                               Id.

Additionally, after Krimstock was decided, the Supreme Court recognized that "administrative

    6
       Again, to the extent that the Plaintiff challenges the timeliness in receiving process, his right to a forfeiture
proceeding meeting the Barker test satisfies any due process right with respect to the car. See Von Neumann, 474
U.S. at 251.

                                                          22
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 23 of 41



resources   . .   .   are not limitless." David, 538 U.S. at 718. (finding that added administrative

burden of providing prompt post-seizure hearings "strongly" weighs in favor of the government).

The Plaintiff argues that Washington and Brown discounted the administrative burdens that could

be caused by prompt post-seizure hearing for the governments in Marion County, Indiana and

the District of Columbia. However, the proposed hearings in those cases were far less redundant

than the proposed hearings here because those jurisdictions did not have the alternative remedial

processes under federal law as outlined above in order to correct erroneous deprivations.7

    For all of these reasons, this Court finds that the Government's substantial interest in

controlling the exportation and importation of illegal contraband at the border without being

hampered by costly and substantially redundant administrative burdens weighs against requiring

a prompt post-seizure hearing. Thus, the Plaintiff's objection is overruled.

    Because this Court finds a weighing of the Mathews factors indicates that due process does

not require a prompt post-seizure, pre-forfeiture hearing, the Plaintiff has failed to state a claim

for which relief can be granted. Accordingly, his class claims should be dismissed.8

    B. Motion to Certify Class Action

        The Plaintiff additionally objects to Judge White's recommendation, after finding the

Plaintiff's class claims be dismissed for failure to state a claim, that the Plaintiff's motion for

class certification be denied because there are no remaining issues to base class certification on.

For the reasons outlined above, this Court finds that the Plaintiff has failed to state a claim on

behalf of the class members. No issues remain to base class certification on, and therefore, the


        The Court also remains unconvinced by the Plaintiff's proposed standard that due process requires the
Government to provide such hearings where it is theoretically possible or even plausible that the Federal
Government, or any other, would be able to conduct such hearings.
    8
       The Plaintiff did not object to Judge White's findings with respect to the Plaintiff' class claim involving the
requirement of posting a bond to institute forfeiture procedures. (ECF No. 64 at 22-23). Thus, having reviewed
Judge White's findings on that issue for clear error and finding none, the Court adopts that section of Judge White's
report in full.

                                                         23
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 24 of 41



Plaintiff's Motion to Certify Class should also be denied. Accordingly, the Plaintiff's objection

is overruled.

      C. Bivens Claims

         The Plaintiff next objects to Judge White's findings that (1) this case arises in a "new

context" because the Supreme Court has not recognized a Bivens remedy under these facts and

(2) that special factors advise hesitation against allowing the Plaintiff's claims to proceed. (ECF

No. 65 at 13-19.) The Plaintiff's Bivens claims allege that Defendant Espinoza violated his

Fourth and Fifth Amendment rights by processing the Plaintiff's case for civil forfeiture without

providing for any post-seizure judicial process or instituting forfeiture proceedings. (ECF No.      1



at 15, 21, 22.) The Plaintiff also alleges that the unknown defendants had authority to hold or

release his truck and are therefore responsible for violating his Fourth and Fifth Amendment

rights because they maintained custody of his vehicle for over 23 months without judicial

process. (Id. at 15, 21, 22-23.) The Plaintiff argues that a reasonable official in the Bivens

Defendants' shoes would have understood that holding property for such an unreasonable period

of time without a post-seizure hearing and without commencing forfeiture proceedings violates

due process and constitutes an unreasonably prolonged seizure in violation of the Fourth

Amendment. (Id. at 15-16, 21.) The Plaintiff's objections are overruled.

         The Supreme Court recently clarified the reach and limits of Bivens claims for damages

fOr   violations of the Constitution in Ziglar   v.   Abbasi. See 137 S. Ct. 1843, 1854-65 (2017). In

1871, Congress passed a statute later codified at Rev. Stat.         §   1979, 42 U.S.C. § 1983, which

entitles an injured person to money damages if a state official violates his or her constitutional

rights. In the 100 years leading up to Bivens, Congress did not provide a specific damages

remedy to plaintiffs who suffered violations of their constitutional rights at the hands of agents of



                                                       24
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 25 of 41




the Federal Government. Then, in 1971, the Supreme Court held in Bivens that, even absent

statutory authorization, it would enforce a damages remedy pursuant to general principles of

federal jurisdiction in order to compensate persons injured by federal officers who violated the

prohibition against unreasonable search and seizures. 403 U.S. at 392, 397. The Supreme Court

has since approved an implied damages remedy under the Constitution in only two other

contexts. See Davis v. Passman, 442 U.S. 228 (1979) (gender discrimination claim pursuant to

Fifth Amendment's Due Process Clause); Car/son        v.   Green, 446 U.S. 14 (1980) (failure to

provide adequate medical treatment claim pursuant to Eighth Amendment's Cruel and Unusual

Punishment Clause).

       In the years that followed Bivens, Davis, and Carlson, the arguments for recognizing

implied causes of action for damages began to lose their force, and the Supreme Court adopted a

"far more cautious course before finding implied causes of action." Zig/ar, 137 5. Ct. at 1855.

Now, when a party seeks to assert an implied cause of action under the Constitution, separation-

of-powers principles are central to the analysis. Id. at 1857. To be sure, the Supreme Court

reiterated that Bivens remains well-settled law in its own context, but "expanding the Bivens

remedy is now a 'disfavored' judicial activity[,j" and the Court has "consistently refused to

extend Bivens to any new context or new category of defendants." Id. at 1855, 1857 (quoting

Iqbal, 556 U.S. at 675; Correctional Services Corp.   v.   Malesko, 534 U.S. 61, 68 (2001)). The

guiding principle to be considered in a Bivens analysis is      "who should decide' whether to
provide for a damages remedy, Congress or the courts?" Zig/ar, 137 S. Ct. at 1857 (quoting

Bush, 462 U.S. at 380). "The answer most often will be Congress. When an issue involves a

host of considerations that must be weighed and appraised, it should be committed to those who




                                              25
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 26 of 41



write the laws rather than those who interpret them."         Id. (internal quotations and citations

omitted).

         In analyzing whether a Bivens remedy for damages should be extended to a particular

plaintiff's claim, courts must therefore determine (1) whether the claim arises in a new context

from previous Bivens cases decided by the Supreme Court, and if so, (2) whether special factors

exist that counsel hesitation in the absence of affirmative action by Congress. Id. at 1859.

         1. The   Plaintiff's Bivens Claims Arise in a New Context

         Judge White found that both the Plaintiff's Fourth and Fifth Amendment Bivens claims

differ in meaningful ways from previous Bivens cases decided by the Supreme Court and

therefore arise in a new context. The Plaintiff objects to Judge White's findings and argues that

his Bivens claims do not arise in a new context because the Supreme Court recently reaffirmed

the continued vitality of Bivens in the Fourth Amendment context and has "explicitly endorsed"

Fifth Amendment Bivens claims for unreasonable delay in civil forfeiture cases. (ECF No. 65 at

13is.)
         The proper test for determining whether a case presents a new Bivens context is the

following: "If the case is different in a meaningful way from previous cases decided by the

Supreme Court, then the context is new." Ziglar, 137 S. Ct. at 1859. Some of the meaningful

differences may include "the rank of the officers involved; the constitutional right at issue; the

generality or specificity of the official action; the extent of judicial guidance as to how an officer

should respond to the problem or emergency to be confronted; the statutory or other legal

mandate under which the officer was operating; the risk of disruptive intrusion by the Judiciary

into the functioning of other branches; or the presence of potential special factors that previous

Bivens cases did not consider." Id. at 1860.



                                                  26
         Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 27 of 41




         a. Fourth Amendment Claim

         Here, the Plaintiff's Fourth Amendment claim bears little resemblance to the three Bivens

claims that the Supreme Court has approved in the past, particularly in light of the Court's recent

analysis in Ziglar. In Ziglar, the plaintiffs were a subset of more than 700 aliens arrested and

detained on immigration charges following the September 11, 2001 terrorist attacks. Id. at

1852-53. Upon detention, the Federal Bureau of Investigation ("FBI") designated the aliens as

either "not of interest" or "of interest" in its investigation of the terrorist attacks. Id. at 1852. If

a detainee was designated not of interest, the alien was processed according to the normal

immigration procedures. Id. However, if any doubt as to the proper designation existed in a

particular case, the detainee was designated as "hold-until-cleared." Id.         The plaintiffs were

aliens who were subject to the hold-until-cleared policy that were detained without bail for

periods ranging from three to eight months. Id. The hold-until-cleared detainees were housed in

the Administrative Maximum Special Housing Unit of the Metropolitan Detention Center in

Brooklyn, New York. Id. Pursuant to official Bureau of Prisons ("BOP") policy, the detainees

were subjected to several harsh conditions of confinement, including being held in tiny cells for

over 23 hours per day; having their lights kept on 24 hours per day; being granted little

opportunity for exercise or recreation; being forbidden to keep anything in their cells, including

basic hygiene products; being shackled and escorted by four guards when removed from their

cells for any reason; being denied access to most forms of communication with the outside

world; and being strip searched   oftenany time they were moved,         as well as at random in their

cells.   Id. at 1853.   The hold-until-cleared detainees were also allegedly subjected to harsh



                                                  27
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 28 of 41



conditions not imposed pursuant to official policy, including physical and verbal abuse from

guards; being slammed into walls; having their arms, wrists, and fingers twisted; having bones

broken; being referred to as terrorists; being threatened with violence; and being subjected to

humiliating sexual comments and insults about their religion. Id. While acknowledging that in

the ordinary course aliens who are present in the United States may be detained without legal

authorization for some period of time, the "gravamen of [the plaintiffs' claims were] that the

Government had no reason to suspect them of any connection to terrorism, and thus had no

legitimate reason to hold them for so long in these harsh conditions." Id

       The Supreme Court found thatdespite their detention for months without bail under the

harsh conditions described abovethe aliens' claims "bear little resemblance to the three Bivens

claims the Court has approved in the past: a claim against FBI agents for handcuffing a man in

his own home without a warrant; a claim against a Congressman for firing his female secretary;

and a claim against prison officials for failure to treat an inmate's asthma." Id. at 1860 (citing

Bivens, 403 U.S. at 388; Davis, 442 U.S. at 228; Chappell   v.   Wallace, 462 U.S. 296 (1983)).

       Like Judge White, this Court agrees that the Plaintiff's Fourth Amendment        claimthat
the seizure of his property for over 23 months, without judicial process, violates the Fourth

Amendment's prohibition on unreasonable         seizuresis        meaningfully different from the

Supreme Court's three previous Bivens cases and therefore arises in a new context. While Ziglar

reaffirmed "the continued force, or even the necessity, of Bivens in the search-and-seizure

context in which it arose," the Supreme Court simultaneously emphasized its longstanding

cautionary approach to expanding Bivens remedies today, such that even slight differences can

indicate that a particular claim arises in a new context. See Ziglar, 137 5. Ct. at 1856. Ziglar

also forecloses the Plaintiff's conclusory argument that his Fourth Amendment claim arises in



                                               28
        Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 29 of 41



the same context as Bivens simply because he alleged a violation of the Fourth Amendment's

prohibition against unreasonable searches and seizures. The Supreme Court rejected such an

expansive standard in finding that the appellate court erred in its analysis of (1) whether the right

at issue was the same, and   if so, (2) whether the mechanism of injury was the same. See           id. at

1859-60 (citing Malesko, 534 U.S. at 64 (finding different context despite almost parallel

circumstances, where the right at issue and mechanism of injury were the same)). Even using

such analysis, the Plaintiffs claim here would still not pass muster, where he argues that the

Fourth Amendment right at issue is the same, but has not demonstrated that the FBI's warrantless

handcuffing of a man in his home in Bivens involves the same mechanism of injury as CBP's

lawful seizure of property under 19 U.S.C.   §   1595a(d) and 22 U.S.C.     §   401, that according to the

Plaintiff is unlawful because of the delay in receiving judicial process.

         The Supreme Court's consistent refusal to expand Bivens remedies over the past 30 years,

discussed at length in Ziglar, similarly forecloses the Plaintiffs reliance on decades-old circuit

decisions in objecting that Judge White erred in finding that the Supreme Court has not

recognized a Bivens remedy in the asset forfeiture context. See (ECF No. 65 at 13 (citing Seguin

v.   Eide, 720 F.2d 1046, 1048 (9th Cir. 1984) (customs officials held vehicle for six months

without a hearing); States Marine Lines, Inc.     v.   Schultz, 498 F.2d 1146, 1152 (4th Cir. 1974)

(customs officials held cargo freight for seventeen months without a hearing)); see also Ziglar,

137 S. Ct. at 1857 (collecting cases)). The Supreme Court's instructions are clear: courts must

determine whether "the case is different in a meaningful way from previous Bivens cases decided

by this Court." Ziglar, 137 S. Ct. at 1859-60. Such an instruction precludes this Court from

relying on cases decided by "federal courts," as Plaintiff requests, and particularly nonbinding

federal court cases decided prior to the Supreme Court's clear shift to its cautionary approach to



                                                  29
         Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 30 of 41



expanding   Bivens   remedies. This Court also agrees with Judge White that the remaining cases

that the Plaintiff cites are meaningfully different because those cases involved the unlawful

seizure of property, or the continued seizure of property once the initial justification for the

seizure expired and, in any event, did not arise in the asset forfeiture context. In the light most

favorable to the Plaintiff, the initial justification of the seizure of his vehicle, magazine, and

bullets was lawful and that justification did not expire. Such differences are meaningful enough

to lead this Court to find that Plaintiff's Fourth Amendment claim arises in a new context from

the Supreme Court's previously decided Bivens cases.

         The Plaintiff additionally objects to Judge White's analysis that the true premise of his

argument is that the delay in processing the forfeiture claim made the forfeiture, not the seizure,

unconstitutional.    See   (ECF No. 64 at 30.) Judge White found that, while such an allegation may

establish a potential Fifth Amendment violation, the Plaintiff may not simply reframe his Fifth

Amendment allegation as a Fourth Amendment claim. (Id.) Judge White also added, on the

other hand, that the distinctions present here are meaningful enough from prior Supreme Court

and Fifth Circuit cases to find that Plaintiff's claims arise in a new context. (Id.) The Plaintiff

argues that his Fourth Amendment claim cannot be dismissed simply because his Fifth

Amendment rights were also allegedly violated and refers this Court to his Complaint, which

alleges that the "seizure of Plaintiff's property for over twenty-three months, without judicial

process, violates the Fourth Amendment's prohibition on unreasonable seizures." (ECF No. 65

at 14. (quoting ECF No.         1   ¶ 138).) This Court disagrees with Plaintiff's reading of Judge

White's report to the extent that Plaintiff argues that Judge White found the Plaintiff's Fourth

Amendment claim waS solely precluded by the existence of his potential Fifth Amendment

claim.    In any event, the Plaintiff's objection is moot because this Court agrees with Judge



                                                    30
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 31 of 41




White's ultimate conclusion that Bivens allegations relating to the lawful seizure of the

Plaintiff's property that allegedly became unlawful by delay in receiving judicial process differ

enough from prior Bivens cases to support a finding that the Plaintiffs Fourth Amendment claim

arises in a new context.

       For the same reason, the Plaintiffs objection "to the extent that [the report suggests his]

Fourth Amendment claim should fail on the merits" is overruled. The Plaintiff is correct that the

issue presently before this Court is whether his Fourth Amendment Bivens claim may be heard,

not the underlying merits of his Fourth Amendment claim. However, Judge White ultimately

found, and this Court agrees, that the factual circumstances in this case meaningfully differ

enough from the Supreme Court's prior approved Bivens cases to support a finding that the

Plaintiffs Fourth Amendment Claim arises in a new context. The Plaintiffs objections to Judge

White's finding that his Fourth Amendment Claim arises in a new context are therefore

overruled.

       b.    F/th Amendment Claim
       The Plaintiff similarly objects to Judge White's finding that his Fifth Amendment Bivens

claim arises in a new context. The Plaintiff argues that "federal courts have allowed this type of

Bivens claim for almost half a century, and the Supreme Court endorsed that longstanding

practice in Davis   . .   .   .   " (ECF No. 65 at   1   5i 6.)   The Plaintiff adds that the Supreme Court

included a footnote in Davis citing a 1974 Fourth Circuit case that allowed a Fifth Amendment

Bivens claim to proceed following an approximately seventeen-month cargo freight seizure by

customs officials. (Id. at 16 (citing 442 U.S. at 244 n.22 (in turn citing State Marine Lines,

498F.2d at 1146))). The Plaintiff objects that, even if a 1979 Supreme Court footnote citing a




                                                          31
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 32 of 41



circuit opinion not before the Court is dicta, Judge White erred because this Court is bound by

both the holding and reasoning of the Supreme Court, even if it is dicta. (ECF No. 65 at 16.)

       Judge White found that the Plaintiff's Fifth Amendment claim arises in a new context

because the Supreme Court has not recognized a Bivens cause of action under the Fifth

Amendment in the asset forfeiture context. (ECF No. 64 at 27.) Judge White distinguishes the

Supreme Court's explicit recognition of a Bivens Fifth Amendment cause of action in Davis

because it "involved gender-based employment discrimination and is wholly dissimilar to the

facts here." (Id.) Citing Ziglar, Judge White then rejected the Plaintiff's argument that cases

need not be identical in order to find that this case arises in the same context as previous Bivens

claims under the Fifth Amendment. (Id.) According to Judge White, "[a]n equal protection

claim challenging conditions of confinement has nothing in common with an asset forfeiture

case, other than the fact that both claims arise under the Fifth Amendment." (Id.) With respect

to the Davis footnote citing State Marine Lines, Judge White reasoned that a 1979 Supreme

Court footnote citing a circuit opinion is dicta and hardly grounds to find the same context here.

(Id. at 28.) Judge White also noted that State Marine Lines itself "is extremely outdated, called

into question by Bivens progeny, and likely overruled." (Id. n. 18.)

       As discussed at length above with respect to the Plaintiff's Bivens claim under the Fourth

Amendment, whether the Plaintiff's Fifth Amendment claim arises in a new context from

previously approved Bivens cases requires analysis in light of the Supreme Court's instructions

in Ziglar. If the case is different in a meaningful way from previous Bivens cases decided by the

Supreme Court, then the context is new. Ziglar, 137 S. Ct. at 1859. "[E]ven a modest extension

is still an extension." Id. at 1864. Here, this Court agrees with Judge White's conclusion that the

Plaintiff's Fifth Amendment    claimthat     the Bivens Defendants' retention of the Plaintiff's



                                                32
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 33 of 41



property without a post-seizure hearing violates the Due Process             Clausebears little
resemblance to a claim against a Congressman for firing his female secretary and therefore arises

in a new context. See id. at 1860. Again, given the clear shift in the Supreme Court's approach

to recognizing implied causes of action such that expanding the Bivens remedy is now a

"disfavored" judicial activity, and consistent refusal over the past 30 years to extend Bivens to

any new context or new category of defendants, the Plaintiffs reliance on nonbinding circuit

opinions decided shortly after Bivens does not persuade this Court to disregard the Supreme

Court's instructions in Ziglar. Moreover, as discussed at length in the previous section, Ziglar

rejects the Plaintiffs proposed expansive argument that an alleged violation of the same

constitutional right requires a finding that a particular claim sufficiently arises in the same

context as prior Bivens cases without further examination into the circumstances of a particular

case. See id. at 1859-60. The Plaintiffs objection is therefore overruled.

          Because this Court finds that the Plaintiffs Bivens claims under the Fourth and Fifth

Amendment arise in a new Bivens context, a special factors analysis is required before allowing

Plaintiffs claim for damages to proceed.

     2.   Special Factors Exist that Counsel Hesitation

          The Plaintiff next objects that there are no special factors counseling hesitation and

argues that Judge White erred in finding that the customs forfeiture laws amount to a

comprehensive scheme that demonstrates Congress's reluctance to the extend the availability of

monetary damages. (ECF No. 65 at 17.) The Plaintiff argues that the mere existence of a

detailed statutory scheme does not preclude a Bivens remedy. Instead, "the statutory scheme

must show that Congress made a considered decision about how best to remedy the type of

violation suffered by the plaintiff." (Id.) The Plaintiff concludes that, because the customs



                                                33
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 34 of 41



forfeiture laws are silent on what should happen if the Government unreasonably delays

initiating a forfeiture action, Congress "appears not to have considered the question." (Id at 17-

18.) The Plaintiff also objects that Judge White's erred in considering other alternate remedies,

including the possibility of filing a Rule 41(g) motion pursuant to the Federal Rules of Criminal

Procedure. Finally, while agreeing that this Court has general equity jurisdiction that may be

invoked in cases of delay, the Plaintiff argues that his need to invoke equity jurisdiction

demonstrates the absence of a comprehensive statutory scheme. (Id. at 18-19.)

       Judge White found that Congress has already implemented procedural protections that

sufficiently function as review systems.    (ECF No. 64 at 31.)      Such systems, Judge White

concluded, are analogous to the protection schemes that the Supreme Court previously found to

preclude implied Bivens remedies in Schweiker and Bush. See Schweiker        v.   Chilicky, 487 U.S.

412, 423 (1988) (person seeking disability benefits can pursue various levels of recourse after an

initial determination of eligibility, including review by a federal AU; a hearing before the

Appeals Council; and judicial review); Bush    v.   Lucas, 462 U.S. 367 (1983) (First Amendment

suit against federal employer, where there existed comprehensive procedural and substantive

provisions for civil service remedies).    Judge White further reasoned that the absence of a

statutory provision allowing for monetary damages against either the United States or an officer

in his or her individual capacity indicates Congress's reluctance to extend the availability of

monetary damages against individual officers. (ECF No. 64 at 31-32 (citing Schweiker, 487

U.S. at 424).) Additionally, Judge White found that recognizing a cause of action would have

significant consequences on the federal government and its employees, and that Congress is in a

far better position than a court to evaluate the impact of a new species of litigation. Finally,

Judge White found that there is nothing unconstitutional about the forfeiture scheme itself, and in



                                                34
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 35 of 41



any event, Schweiker made it clear that courts must look to the comprehensiveness of the

statutory scheme involved, not the adequacy of specific remedies extended thereunder. (Id. at

33.)

       A Bivens remedy will not be extended to new contexts where there are "special factors

counselling hesitation in the absence of affirmative action by Congress." Ziglar, 137 S. Ct. at

1857-58 (internal citations and quotations omitted). The Supreme Court has not defined the

phrase "special factors counseling hesitation[,]" however, "the inquiry must concentrate on

whether the Judiciary is well suited, absent congressional action or instruction, to consider and

weigh the costs and benefits of allowing a damages action to proceed." Id. Thus, a special

factor counseling hesitation must cause a court to hesitate before answering that question in the

affirmative. Id. "The decision to recognize a damages remedy requires an assessment of its

impact on governmental operations system-wide.            Those matters include the burdens on

Government employees who are sued personally, as well as the projected costs and consequences

to the Govermnent itself when the tort and monetary liability mechanisms of the legal system are

used to bring about the proper formulation and implementation of public policies." Id. at 1858.

       Importantly, courts defer to indications that congressional inaction has not been

inadvertent.   Schweiker, 487 U.S. at 423.       Courts also have not created additional Bivens

remedies "[w]hen the design of a Government program suggests that Congress has provided

what it considers adequate remedial mechanisms for constitutional violations that may occur in

the course of its administration." Id. "If the statute does not display an intent to create a private

remedy, then a cause of action does not exist and courts may not create one, no matter how

desirable that might be as a policy matter, or how compatible with the statute." Ziglar, 137 5.

Ct.. at 1856. Likewise, the "absence   of statutory relief for a constitutional violation.   . .   does not



                                                 35
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 36 of 41



by any means necessarily imply that courts should award money damages against the officers

responsible for the violation." Schweiker, 487 U.S. at 42 1-22. Even where existing remedies do

not provide "complete relief' for a plaintiff, the Supreme Court has refused to create a Bivens

action. Id. at 423 (internal citations omitted).

         Here, having considered the special factors necessarily implicated by the Plaintiffs

Fourth and Fifth Amendment claims, this Court finds that those factors demonstrate that

Congress should decide whether a damages actions should be allowed, not the courts. At the

outset, this Court agrees with Judge White's finding that the forfeiture system in place cannot

reasonably be distinguished from the review systems in Bush and Schweiker. Just as in Bush and

Schweiker, Congress has failed to provide for "complete relief' to the extent that the Plaintiff has

not been given a remedy in damages for allegedly unreasonable delays in receiving judicial

process following the seizure of his property. Therefore, the creation of a Bivens remedy would

obviously offer the prospect of relief for alleged injuries that must now go unredressed.

However, even assuming arguendo Plaintiffs allegation that the seizure of his property for 23

months was in fact unreasonable, despite the five-year statute of limitations under 19 U.S.C.         §

1621, Congress still has not failed to provide meaningful safeguards or remedies for the rights of

persons situated as the Plaintiff was here.

         After CBP officers seized the Plaintiffs vehicle, bullets, and magazine pursuant to 19

U.S.C.   §   1595a(d) and 22 U.S.C.   §   401, the Plaintiff had several alternatives under the existing

scheme that served as sufficient safeguards available to him in order to remedy the alleged

wrongful seizure of his property. Indeed, on October 1, 2015, CBP issued the Plaintiff a Non-

CAFRA Notice of Seizure and Information to Claimants outlining those several alternatives

available to him, including (1) filing an administrative petition for remission under 19 U.S.C.        §




                                                     36
       Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 37 of 41




1618; (2) submitting an offer of compromise Under 19 U.S.C.                      §   1617; (3) abandoning the

property; or (4) requesting a referral to the United States Attorney's Office for the institution of

judicial forfeiture proceedings.         See (ECF No. 5O-2.)             Additionally, this Court notes the

Plaintiff's actual filing of a Rule 4 1(g) motion in this case, regardless of its merits, prompted

CBP to return his property. Moreover, the Plaintiff concedes that invoking this Court's general

equity jurisdiction was an alternative available to him at any point during the alleged delay.

(ECFNo. 65 at 18-19.)

        The existence of the administrative scheme here, combined with the Plaintiff's option to

file a Rule 41(g) motion or invoke this Court's general equity jurisdiction, strongly suggests that

there exists alternate remedial processes available to the Plaintiff for the type of violation that he

allegedly suffered. The existence of such alternate remedial processes in this case is sufficient to

deny the Plaintiff an additional Bivens remedy. See Ziglar, 137 S. Ct. at 1858. These alternate

remedial processes available to the Plaintiff also strongly suggest that this is not a case of

"damages or nothing" as the he argues, and the Court again notes that the Plaintiff's actual

utilization of one available method in this case resulted in the return of his property. See Ziglar,

137 S. Ct. at 1862.

        Additionally, Schweiker forecloses the Plaintiff's argument that the forfeiture laws do not

amount to a comprehensive statutory scheme because they do not specifically address the

question of what should happen if the Government unreasonably delays initiating a forfeiture

        The Plaintiff appears not to have opted to take advantage of at least one of the administrative remedies
available to him that most similarly situated people utilize. See Von Neumann, 474 U.S. at 250 (observing that most
forfeitures are resolved through petitions for remission). Therefore, while the Plaintiffs claims relate to
unreasonable delay in receiving judicial process through the current scheme, the Court does note that he declined to
exercise his option to directly and immediately petition CBP for administrative remission in addition to seeking
referral to the U.S. Attorney for judicial action during the time his property was seized. Even in the event that the
Plaintiff was dissatisfied with the decision on that hypothetical petition for remission, he then would have been
granted an additional 60 days to request to have his case reviewed by the U.S. Attorney's office for judicial action.
(ECF No. 50-2 at 2.) At any time, the Plaintiff also could have, and did, file a Rule 4 1(g) motion or invoke this
Court's general equity jurisdiction.

                                                         37
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 38 of 41



action. See Schweiker, 487 U.S. at 427-28 ("Here, as in Bush, it is evident that               if we were to
fashion an adequate remedy for every wrong that can be proved in a case             . . .   [the complaining

party] would obviously prevail.   .   .   .   In neither case, however, does the presence of alleged

unconstitutional conduct that is not separately remedied under the statutory scheme imply that

the statute has provided 'no remedy' for the constitutional wrong at issue.") (internal quotations

and citations omitted).   For the same reason, this Court is unpersuaded by the Plaintiff's

argument, without citing authority, that the statutory scheme must affirmatively demonstrate that

Congress made a considered decision about how best to remedy the specific type of violation

suffered by the Plaintiff in order to preclude a Bivens remedy. In fact, it is equally reasonable

here to conclude that "Congress' failure to provide a damages remedy might be more than mere

oversight, and that congressional silence might be more than 'inadvertent." Ziglar, 137 S. Ct. at

1862 (citing Schweiker, 487 U.S. at 423). Put another way, and just like in Ziglar, the silence of

Congress here is relevant, and it is telling. Id. Congressional interest in the customs laws has

been frequent and intense.    Congressional interest specifically in asset forfeitures has been

demonstrated by Congress's enactment of the Civil Asset Forfeiture Reform Act of 2000

(CAFRA). That legislation's exemption from the processing timeline contained therein of the

forfeiture proceedings, under 19 U.S.C.        §   1595a and 22 U.S.C.   §   401, sufficiently causes this

Court to hesitate before creating a Bivens remedy in these circumstances.                   See 18 U.S.C.   §

983(i).   Congress has, however, provided for a five-year statute of limitations under these

circumstances, and this Court further hesitates to create a Bivens remedy where the Plaintiff's

claim concludes that 23 months is unreasonable, despite the applicable statute of limitation. See

19 U.S.C. § 1621.
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 39 of 41



       Additional special factors are present that make this Court hesitate to conclude that the

Judiciary is well-suited, absent congressional action or instruction, to consider and weigh the

costs and benefits of allowing a damages action to proceed. For example, this Court agrees with

Judge White's finding that recognizing a cause of action here would also have significant

consequences on the federal government and its employees. (ECF No. 64 at 32.) The risk of

personal damages liability is more likely to cause an employee to second guess difficult but

necessary decisions concerning seizures under the customs laws. See Ziglar, 137 S. Ct. at 1862.

Recognizing a new Bivens remedy here would therefore weaken the strong governmental interest

in halting criminal organizations' exportation of fruits of criminal enterprises into Mexico

because border agents may hesitate before acting for fear of personal liability. See De La Paz   v.


Coy, 786 F. 3d 367, 379 (5th Cir. 2015) (declining to recognize a Bivens remedy in part because

"[f]aced with a threat to his checkbook from suits based on evolving and uncertain law, the

officer may too readily shirk his duty"). Moreover, creating a new remedy would impair the

Executive Branch's power to control the borders and promote our relationship with Mexico by

stemming the flow of arms into Mexico. Id. at 379 (finding Executive Branch has "inherent

power as sovereign to control and conduct relations with foreign nations.") (internal citations

omitted). Additionally, seizing money and property from criminals allows law enforcement to

preserve evidence throughout its investigation and establish in rem jurisdiction during

subsequent forfeiture proceedings.

       The special factors outlined above are sufficient enough for this Court to find that

whether a Bivens action for damages should be allowed is a decision for Congress to make.

Congress is in a better position than the courts to decide whether the creation of a new

substantive legal liability here would serve the public interest. Schweiker, 487 U.S. at 426-27;



                                               39
      Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 40 of 41



Bush, 462 U.S. at 390. Whether or not we believe that Congress's response in this case was the

best response, Congress is the body charged with making the inevitable compromises required in

the design of a massive and complex asset forfeiture scheme under the customs laws. Schweiker,

487 U.S. at 429 (citation omitted). In summary, this Court finds that the Plaintiff's Fourth and

Fifth Amendment Bivens claims arise in a new context from previously decided Supreme Court

cases and special factors counsel against expanding Bivens here. The Plaintiff's objections with

respect to his Fourth and Fifth Amendment Bivens claims are therefore overruled.

                                      IV. CONCLUSION

       Having reviewed the record and law in this case, this Court now ORDERS the following:

        1.   The Plaintiff's Motion for Class Certification (ECF No. 4) is DENIED AS MOOT.

       2. The Motion to Dismiss by Defendants United States Customs and Border Protection,

       United States of America, and Kevin McAleenan (ECF No. 49) is GRANTED, the Rule

       41(g) Motion is DISMISSED AS MOOT, and the class claims against them is

       DISMISSED WITh PREJUDICE to refihing by the above-named Plaintiff, but

       without prejudice as to any other potential plaintiffs.

       3. Defendant Espinoza's Motion to Dismiss (ECF No. 50) is      GRANTED and the claims

       against him are DISMISSED WITh PREJUDICE.

       4. Finally, the claims against the unknown defendants are DISMISSED WITIIOUT

       PREJUDICE. Assuming the Plaintiff could identify any of the unknown defendants at

       a later time, amendment of the Complaint pursuant to Rule 1 5(a)(2) of the Federal Rules

       of Civil Procedure to name the specific agents would be futile, since a Bivens claim

       against them would have no merit. Courts, however, lack personal jurisdiction over

       unidentified fictitious defendants.     See Cunningham    v.   Advanta Corp., 2009 WL



                                                40
Case 2:17-cv-00048-AM-CW Document 69 Filed 09/28/18 Page 41 of 41



 10704752, at *3 (N.D. Tex. Feb. 6, 2009); Taylor     v.   Fed. Home Loan Bank Bd., 661 F.

 Supp. 1341, 1350 (N.D. Tex. 1986). Therefore, the claims should be dismissed without

 prejudice, pursuant to Federal Rule of Civil Procedure           1   2(b)(2).   See Int'l Energy

 Ventures Mgmt., L.L.C.   v.   United Energy Grp., Ltd., 818 F.3d 193, 213(5th Cir. 2016)

 (dismissal for lack of personal jurisdiction must be without prejudice).

It isso ORDERED.

SIGNED and ENTERED on this 28th day of September, 2018.




                                       ALIA MOSES
                                       United States District J




                                         41
